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 5

 6                               IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                     )   Case No.: 2:08 CR 0427 MCE
 9   UNITED STATES OF AMERICA,                       )
                                                     )
10                  Plaintiff,                       )   STIPULATION AND ORDER RE
                                                     )   CONTINUANCE OF JUDGMENT AND
11           vs.                                     )   SENTENCING
                                                     )
12   LIW JIAW SAECHAO,                               )
                                                     )
13                  Defendant                        )
14

15
             Plaintiff, United States of America, by and through its counsel of record, and the
16
     defendant LIW JIAW SAECHAO, by and through his counsel of record, hereby stipulate as
17

18   follows:

19           1.     By previous order, this matter was set for judgment and sentencing on March 20

20   2014.

21           2.     By this stipulation, the defendants now move to continue the judgment and
22   sentencing until April 24, 2014 at 9:00 a.m. and that the March 20, 2014 court date be vacated.
23
     Plaintiff does not oppose this request.
24
             3.     The parties agree and stipulate, and request that the Court find the following:
25
             a.     Counsel for the defendant has been informed that defendant Saechao is still very



                                   STIP AND ORDER TO EXTEND TIME - 1
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     ill with tuberculosis, anemia, rheumatoid arthritis, sleep apnea and vascular disease and other
 1
     medical conditions. She has been recently released from the hospital, and is currently bedridden.
 2

 3          b. Good cause is present for such a continuance due to defendant Saechao’s medical

 4   condition.

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 6

 7
     Respectfully submitted,
 8

 9
     Date: 3-17-14                                              By: /s/ Danny D. Brace, Jr.,
10                                                              DANNY D. BRACE, JR.,
                                                                Attorney for
11                                                              Liw Jiaw Saechao
12

13
     Date: 3-17-14                                              By:/s/ Philip Ferrari
                                                                Authorized to sign for Mr. Ferrari
14                                                              On March 17, 2014
                                                                Philip Ferrari
15                                                              Assistant U.S. Attorney

16
                                                 ORDER
17
            IT IS SO ORDERED.
18

19
     Dated: March 18, 2014

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                                 STIP AND ORDER TO EXTEND TIME - 2
